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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HEATHER PICQUELLE,

       Plaintiff,                                           Case No.: 1:23-cv-15105

v.                                                          Judge John F. Kness

THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge M. David Weisman
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                  DEFENDANT
                48                                    Honeystore
                 6                                     qiyiguoxa
                21                                Brnmyaeo Online
                31                                   SENDAOER
                36                                  Andongnywell
                12                                       Staron
                27                                     HAQCO
                 3                                SHENYANGWA
                 7                         Ozmmyan✈✈10-15 Days Delivery
                 8                                     QTOCIO
                10                                     Lmdudan
                16                          Gamivast（7-15 days delivery）
                18                                     US-jyun*
                20                                   Honey Peach
                22                                   LEHOZIHEQ
                33                                Leowefowa Direct
                 2                                      DesigN
               110                           Jsezml Women Clothing Tops
                60                          yichengjiaxinkejiyouxiangongsi
               149                                FORHVIPS Store
                61                                     Viwoeim
                62                                      Yyeselk
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          63                                    Tawop
          64                             FchengtaiS Co.Ltd
          66                                F W Clothing
          67                       Bdfzl Women's Clothing Shops
          68                                   hgsbede
          69                                  KIHOUT
          70                                   Auroural
          71                           Lilgiuy Fashion Saving
          72                                GaThRRgYP
          73                                 Honeeladyy
          74                          CLESALE Online Store
          76                                 Meiliwanju
          77                                 QUYUON.
          78                                   Fesfesfes
          80                                 absuyy LLC
          81                                  SELONE
          82                                  Finelylove
          83                                    Uorcsa
          84                            7days faster delivery
          85                                  POROPL
          86                      Womens Clothes Prime Day Deals
          87                                   UHUYA
          89                               WXLWZYWL
          90                       REORIAFEE Fashion Clothing
          92                                JUAN Co.ltd
          94                                     Efsteb
          95                         8-12 days delivery Dianli
          96                        VALMASS Stylish Clothes
          97                                   KINPLE
          98                             SZWZ Technology
          99                                    Cethrio
         100                               PATLOLLAV
         101                                   YanHoo
         102                                     cllios
         103                                  UPPADA
         104                                Gulas Co.Ltd
         105                              TIANEK CLOTH
         106                               BASKUWISH
         107                          pbnbp Fall Fashion 2023
         108                               Wenini Dresses
         109                           OVBMPZD Garments
         111                                    Snoarin
         112                        HTNBO-Womens Clothing
         113                         Clearance Sale MIANHT
         114                                    Airpow
         116                                   CQCYD
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         117                                  Dyegold
         118                                  ZVAVZ
         119                              ZyeKqe Clothing
         121                                   Brglopf
         122                             FAIWAD Clothing
         123                                  Dqueduo
         126                                   Levmjia
         130                             SYW E-Commerce
         131                           Timegard Online Shop
         132                                   Qonioi
         133                                 Lopecy-Sta
         134                                   Daqian
         135                              Besolor Clothing
         137                            Fatuov Store Co. Ltd
         138                                APEXFWDT
         141                                  JWZUY
         142                                  Olyvenn
         143                         SEROYE-Fashion clothing
         144                                  OKBOP
         145                              Lovskoo Fashion
         146                                    jsaierl
         148                           SBYOJLPB Clearance
         150                                NAMANYLE
         151                                   qipopiq
         152                                  RQYYD
         153                               Zunfeo Co.Ltd
         154                                   Zpanxa
         155                                 Kayannuo
         156                              Good Living Hall
         157                                  Idoravan
         158                          UTTOASFAY Clearance
         159                                   yoeyez
         160                             Puntoco Clearance
         161                               absuyy fashion
         162                                   Rewenti
         163                                Vivianyo HD
         165                               Homenesgenics
         166                               SZDYR Co.Ltd
         167                                   Odeerbi
         168                                   MaTPR
         169                                 NARABB
         170                                   JIUKE
         175                                  Fengqque
         176                            Ersazi Clearance sale
         177                                 YODETEY
         178                                   Deagia
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             179                                   Inleife
             180                                    Kizly
             181                                   VSSSJ
             182                                  MMDZ
             183                             wavsuf Fashion
             184                                  Fanxing
             185                       Fashionistas Choice Gaecuwa
             186                                  loopsun
             188                                 Sinimoko
             189                                  yio1128
             190                                 Ecqkame
             191                             uublik Company
             192                                    Mrat
             193                                 WHLBF
             194                         IELSKGS Clothing Shop
             195                                 Juebong
             196                        Naughtyhood E-Commerce
             197                                  Jing Sai
             198                                UHEOUN
             200                               DAETIROS
             201                                VONCOS
             203                             YANHAIGONG
             204                                 TIHLMK


DATED: February 2, 2024                     Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone:312-971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on February 2, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
